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The following constitutes the ruling of the court and has the force and effect therein described.



Signed June 17, 2020
                                            United States Bankruptcy Judge
  ______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


     IN RE                                              §
                                                        §
     EVERYREADY SERVICES, INC                           §       Case No. 20-30225
          DEBTOR                                        §


                               ORDER ON MOTION TO REJECT LEASE



             CAME ON to be considered this day the Motion of Everyready Services, Inc., ("Debtor")

     to Reject Lease ("Motion"). The Court having reviewed the Motion is ofthe opinion the Motion
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is well founded and should be Granted. IT is accordingly,

       ORDERED, ADJUDGE AND DECREED THE Debtor’s lease with NWP TX TT, LLC

(“Landlord”) is hereby rejected.



                                     ### End of Order ###
